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                                Exhibit C
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                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF CONNECTICUT
                                 HARTFORD DIVISION


 In Re:                                              Chapter 11

 THE NORWICH ROMAN CATHOLIC                          Case No. 21-20687 (JJT)
 DIOCESAN CORPORATION,

 Debtor.


                             [PROPOSED]
ORDER GRANTING FIRST INTERIM FEE APPLICATION OF ZEISLER & ZEISLER,
 P.C., COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS,
  SEEKING COMPENSATION AND REIMBURSMENT OF DISBURSEMENTS FOR
        THE PERIOD OF AUGUST 10, 2021, THROUGH OCTOBER 31, 2021

          THIS MATTER came before this Court upon the First Interim Fee Application of Zeisler

& Zeisler, P.C., Counsel to the Official Committee of Unsecured Creditors, Seeking Compensation

and Reimbursement of Disbursements for the Period of August 10, 2021, Through October 31,

2021 (the “Application”) seeking interim compensation incurred by Zeisler & Zeisler, P.C. (the

“Applicant”) incurred as counsel to the Official Committee of Unsecured Creditors in this chapter

11 proceeding pursuant to 11 U.S.C. § 330, Fed. R. Bankr. P. 2016, and D. Conn. L. R. 2016-1,

there being due and sufficient notice of the relief requested and there being no objection to the

Application, and after a hearing held on ____, it is therefore

          ORDERED that the Application is Granted, and the Applicant is awarded compensation in

the amount of $146,879.90 and reimbursement of expenses in the amount of $921.25 for the period

of August 10, 2021, through and including October 31, 2021, for a total interim award in the

amount of $147,801.15; and,

          ORDERED that the Debtor is authorized and directed to pay $147,801.15 to the Applicant.




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